Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 1 of 6 Page ID #:1172

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-43 JVS (ADSx)                                        Date   June 11, 2020
 Title             Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                   et al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Dismiss

     Pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6), Relief Defendants
XO Media (“XO”) and Kenneth Lawson (“Lawson”) (together, “the Relief Defendants”),
moved to dismiss the Bureau of Consumer Financial Protection’s (“the Bureau’s”)
Complaint. Mot., Dkt. No. 69. The Bureau opposed. Opp’n, Dkt. No. 92. The Relief
Defendants replied. Reply, Dkt. No. 96.

         For the following reasons, the Court GRANTS the motion.

                                                    I. BACKGROUND

       The background is drawn from the allegations in the Bureau’s Complaint, which
concerns conduct by companies and individuals in connection with providing debt-relief
services to consumers with student loans. Complaint, Dkt. No. 1 ¶ 3. A mortgage
company, Monster Loans1, and a sham entity, Lend Tech, unlawfully obtained consumer
reports from the consumer-reporting agency Experian and then provided the reports to
other companies. Id. ¶ 4.

      Defendants Docu Prep Center, Certified Doc Prep Services, Assure Direct
Services, Direct Document Services, and Secure Preparation Services (collectively, the
“Student Loan Debt Relief Companies”) marketed and sold debt-relief services to
consumers with federal student loans. Id. ¶ 27.

         1
         Chou Team Realty, LLC and Chou Team Realty, Inc. have held themselves out as doing
business as Monster Loans. Id. ¶ 13.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 6
Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 2 of 6 Page ID #:1173

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                             Date   June 11, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                et al

       In direct-mailings and in telemarketing-sales calls, the debt-relief companies made
false representations to consumers that: (1) the consumers would obtain lower interest
rates by consolidating their federal student loans, (2) the consumers would improve their
credit scores by consolidating their loans, and (3) the United States Department of
Education would become the “new servicer” on their loans. Id. ¶ 5. Several of these
companies also unlawfully charged and collected advance fees. Id. ¶ 6.

      The Bureau brings eleven counts against the defendants, for violations of the Fair
Credit Reporting Act (FCRA), Telemarketing Sales Rule (TSR), and Consumer Financial
Protection Act (CFPA). See generally, Complaint.

      Lawson owns limited partnership interests in the Student Loan Debt Relief
Companies; he holds those interests though XO. Id. ¶ 51. He is the manager and owner
of 90 percent of XO. Id.

       The Complaint names XO and Lawson as Relief Defendants, alleging that they
“have received, directly or indirectly, distributions of profits from the Student Loan Debt
Relief Companies that are traceable to funds obtained from consumers through the
violations of the CPFA and TSR described herein.” Id. ¶ 200. The Bureau claims that
“[t]hey have no legitimate claim to such funds and would be unjustly enriched if not
required to disgorge the funds or the value of the benefits they received.” Id.

      Now, Lawson and XO move to dismiss, pursuant to Federal Rules of Civil
Procedure 12(b)(6) and 12(b)(1). See generally, Mot., Dkt. No. 69.

                                   II. LEGAL STANDARD

A.       12(b)(1) Motion to Dismiss

       Dismissal is proper when a plaintiff fails to properly plead subject matter
jurisdiction in the complaint. Fed. R. Civ. P. 12(b)(1). A “jurisdictional attack may be
facial or factual.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).
If the challenge is based solely upon the allegations in the complaint (a “facial attack”),
the court generally presumes the allegations in the complaint are true. Id.; Warren v. Fox
Family Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003). If instead the challenge
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                        Page 2 of 6
Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 3 of 6 Page ID #:1174

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                             Date   June 11, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                et al

disputes the truth of the allegations that would otherwise invoke federal jurisdiction, the
challenger has raised a “factual attack,” and the court may review evidence beyond the
confines of the complaint without assuming the truth of the plaintiff’s allegations. Safe
Air, 373 F.3d at 1039. The plaintiff bears the burden of establishing subject matter
jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

B.       12(b)(6) Motion to Dismiss

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678-80
(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where the
well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

                                       III. DISCUSSION

A.       12(b)(6) Motion to Dismiss

      The Relief Defendants argue that the Bureau fails to allege adequate facts to
support its claim that they had no legitimate claim to the profits they received from the
named defendants, the student loan debt relief companies and associated individual
defendants. See generally, Mot. Accordingly, resolution of the motion depends on the
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                         Page 3 of 6
Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 4 of 6 Page ID #:1175

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                             Date   June 11, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                et al

nature of a “relief defendant.”

       “A nominal defendant holds the subject matter of the litigation in a subordinate or
possessory capacity as to which there is no dispute.” S.E.C. v. Cherif, 933 F.2d 403, 414
(2nd Cir. 1991) (internal quotations and citation omitted) (emphasis added). “The
paradigmatic nominal defendant is a trustee, agent, or depositary ... [who is] joined purely
as a means of facilitating collection.” S.E.C. v. Collelo, 139 F.3d 674, 676 (9th Cir.
1998) (internal quotations and citation omitted). “As the nominal defendant has no
legitimate claim to the disputed property, he is not a real party in interest.” Id. (emphasis
added). “Accordingly, there is no claim against him and it is unnecessary to obtain
subject matter jurisdiction over him once jurisdiction of the defendant is established.” Id.
(internal quotations and citation omitted).

       The Ninth Circuit “emphasize[d] that in the typical case, the creditor plaintiff must
show that the nominal defendant has received ill gotten funds and that he does not have a
legitimate claim to those funds.” Id. at 677 (emphasis in original).

       The Second Circuit has “recognized that relief defendants who have provided
some form of valuable consideration in good faith . . .. are beyond the reach of the district
court’s disgorgement remedy.” FTC v. LeadClick Media, LLC et al., 838 F.3d 158, 177
(2d Cir. 2016) (internal quotation and citation omitted) (emphasis added). “ A gratuitous
transfer, however, without the payment of consideration, does not give rise to a legitimate
claim.” Id.

       The Court finds that the Complaint insufficiently alleges that the Relief Defendants
lacked a legitimate claim to the profits they received from the named defendants. The
Complaint conclusorily alleges that the Relief Defendants “have received, directly or
indirectly, distributions of profits from the Student Loan Debt Relief Companies that are
traceable to funds obtained from consumers through the violations of the CFPA and TSR
described herein,” and that “[t]hey have no legitimate claim to such funds and would be
unjustly enriched if not required to disgorge the funds or the value of the benefits they
received.” Complaint ¶ 200 (emphasis added). The allegation that the Relief Defendants
“have no legitimate claim to such funds” is a bare assertion that lacks adequate factual
enhancement.

CV-90 (06/04)                        CIVIL MINUTES - GENERAL                          Page 4 of 6
Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 5 of 6 Page ID #:1176

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                            Date   June 11, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                et al

      Further, the Complaint affirmatively alleges facts showing that the Relief
Defendants have a legitimate claim to the funds, because Lawson “owned limited-
partnership interests in each of the Student Loan Debt Relief Companies.” See id. ¶ 51.
That Lawson and XO were investors in the entities – rather than trustees, agents, or
depositories – counsels in favor of granting the motion. See SEC v. Founding Partners
Capital Management, 639 F. Supp. 2d 1291, 1294 (M.D. Fla. 2009).

       The Bureau argues that the Court must consider the Complaint as a whole, and not
focus only on the two paragraphs of allegations specifically mentioning Lawson and XO.
Opp’n at 21-22. However, the additional allegations the Bureau cites only support the
fact that the Relief Defendant received funds from the Student Loan Debt Relief
Companies. Id. at 22; see Complaint ¶¶ 17, 20, 22, 24, 26, 51, 106, 200. These
allegations do not support the other element required to name Lawson and XO as relief
defendants, that they had no legitimate claim to these funds.

       Because the Bureau’s allegations against the Relief Defendants are insufficiently
pled, the Court grants the motion to dismiss.

B.       12(b)(1) Motion to Dismiss

      Because the Court decides the instant motion on 12(b)(6) grounds, the Court
declines to consider the Relief Defendants’ factual attack on the Complaint under
12(b)(1).

                                      IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS the motion. The Bureau has 30
days to replead against the Relief Defendants.

      The Court finds that oral argument would not be helpful in this matter and vacates
the June 15, 2020 hearing. Fed. R. Civ. P. 78; L.R. 7-15.

                 IT IS SO ORDERED.


CV-90 (06/04)                         CIVIL MINUTES - GENERAL                       Page 5 of 6
Case 8:20-cv-00043-JVS-ADS Document 108 Filed 06/11/20 Page 6 of 6 Page ID #:1177

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                                      Date     June 11, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC,
                et al




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CV-90 (06/04)                       CIVIL MINUTES - GENERAL                                    Page 6 of 6
